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                   EXHIBIT 1
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  ·1

  ·2· · · ·UNITED STATES DISTRICT COURT

  ·3· · · ·SOUTHERN DISTRICT OF FLORIDA

  ·4· · · ·-----------------------------------------X
  · · · · ·JAVIER CARDENAS, RODNEY AND PAMELA BAKER,
  ·5· · · ·MICHELLE MONGE, and KURT KIRTON,
  · · · · ·individually and on behalf of all others
  ·6· · · ·similarly situated,

  ·7· · · · · · · · · · · · Plaintiffs,

  ·8· · · · · · · ·Civil Action no. 18-22798-CIV-MORENO

  ·9· · · · · · · · · · · · VS.

  10· · · ·TOYOTA MOTOR CORPORATION, TOYOTA MOTOR
  · · · · ·SALES, U.S.A., INC., TOYOTA MOTOR
  11· · · ·ENGINEERING & MANUFACTURING NORTH
  · · · · ·AMERICA, INC., and SOUTHEAST TOYOTA
  12· · · ·DISTRIBUTORS, LLC,

  13· · · · · · · · · · · · Defendants.
  · · · · ·-----------------------------------------X
  14

  15

  16

  17· · · · · · · · · · · · DEPOSITION

  18· · · · · · · · · · · · · · OF

  19· · · · · · · · · ·ROBERT M. KUHN, P.E.

  20· · · · · · · · · · NOVEMBER 17, 2020

  21· · · · · · · · · · · HELD REMOTELY

  22

  23

  24· · · ·Reported by:
  · · · · ·CANDIDA BORRIELLO
  25· · · ·JOB NO. 328656


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  ·1· · · · · · · · · · · · ·R. Kuhn

  ·2· · · of these inspections?

  ·3· · · · · · A.· ·It may have been during the Kirton

  ·4· · · inspection.· I don't recall them doing that on

  ·5· · · the Cardenas.

  ·6· · · · · · Q.· ·What do you recall about a FaceTime

  ·7· · · call during the Kirton inspection?

  ·8· · · · · · A.· ·The best I can remember, those guys

  ·9· · · got on the phone with Jeff Hicks for a few

  10· · · minutes and that's about all I know.

  11· · · · · · Q.· ·Do you know why they got on the

  12· · · phone with Mr. Hicks during that time?

  13· · · · · · A.· ·No idea, other than this is their

  14· · · first time doing one of these, so perhaps they

  15· · · just wanna confirm they're getting all the

  16· · · things that he needs to do his work.

  17· · · · · · Q.· ·Did you hear any part of that

  18· · · conversation?

  19· · · · · · A.· ·No, sir, I was busy doing my

  20· · · photographic work on the car.

  21· · · · · · Q.· ·Did you do any root cause analysis

  22· · · concerning the cause of HVAC odor in any of

  23· · · the plaintiffs' vehicles?

  24· · · · · · · · ·MR. SCHRADER:· Form.

  25· · · · · · · · ·MR. SACKS:· Join.


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  ·1· · · · · · · · · · · · ·R. Kuhn

  ·2· · · · · · A.· ·Well, Mr. Kirton says he doesn't

  ·3· · · have it, so that was easy.· There is no odor

  ·4· · · complaint on the Kirton vehicle.

  ·5· · · · · · · · ·As far as the other guys, I would

  ·6· · · rely on what I've discussed in my report.

  ·7· · · It's a matter of environmental factors,

  ·8· · · operating factors such as that that can

  ·9· · · potentially create the odors.

  10· · · · · · · · ·I do know that the guys that

  11· · · inspected the Monge vehicle, is that how you

  12· · · say it, describe it as a rolling ashtray.· He

  13· · · said, about the only thing you could smell

  14· · · were cigarettes and air fresheners.

  15· · · · · · · · ·So, other than that, no, no other

  16· · · root cause analysis.

  17· · · ·BY MR. GRADEN:

  18· · · · · · Q.· ·Who inspected the Monge vehicle,

  19· · · who made that comment?

  20· · · · · · A.· ·That would've been whoever from ESI

  21· · · down in Florida did the inspection, I forget

  22· · · his name, but he said, yeah, it was just full

  23· · · of -- and I have the picture that go with it,

  24· · · he said it's full of cigarette ash and very --

  25· · · it -- it smelled like cigarettes.


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  ·1· · · · · · · · · · · · ·R. Kuhn

  ·2· · · · · · Q.· ·So, is it your opinion the odor of

  ·3· · · which Ms. Monge complains about is HVAC -- is

  ·4· · · cigarette odor?

  ·5· · · · · · · · ·MR. SCHRADER:· Form.

  ·6· · · · · · · · ·MR. SACKS:· Join.

  ·7· · · · · · A.· ·No, all I can tell you -- you asked

  ·8· · · for cause, no.· All I can tell you is based on

  ·9· · · inspection of the vehicle, those were the only

  10· · · odors that were noted at the time of the

  11· · · inspection.

  12· · · ·BY MR. GRADEN:

  13· · · · · · Q.· ·With respect to Ms. Monge's

  14· · · vehicle, do you have any opinion to what is

  15· · · causing the odors that she is complaining

  16· · · about here?

  17· · · · · · · · ·MR. SACKS:· Form.

  18· · · · · · · · ·MR. SCHRADER:· Join.

  19· · · · · · A.· ·Beyond what we already discussed in

  20· · · terms of operating and environmental inputs

  21· · · through the HVAC, no.· What I was consistent

  22· · · with is what we already discussed in my

  23· · · report.

  24· · · ·BY MR. GRADEN:

  25· · · · · · Q.· ·Would that be the same answer for


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  ·1· · · · · · · · · · · · ·R. Kuhn

  ·2· · · the other plaintiffs' vehicles that you had in

  ·3· · · your report here?

  ·4· · · · · · A.· ·For Cardenas, yes.· Again, for

  ·5· · · Kirton, no, because he already said he didn't

  ·6· · · have any odors in his car, and we didn't note

  ·7· · · any odors in that car.

  ·8· · · · · · Q.· ·And when you say environmental

  ·9· · · factors, what are you referring to?

  10· · · · · · A.· ·Same as before.· Humidity,

  11· · · contaminants, things of that nature, along

  12· · · with, you know, operator control settings,

  13· · · time of year, exterior weather, you know,

  14· · · seasonal, that type of things, all the things

  15· · · we already discussed.

  16· · · · · · Q.· ·And what have you done specifically

  17· · · with respect to the plaintiffs' vehicles to

  18· · · connect the HVAC odor that they're complaining

  19· · · of to those -- those factors?

  20· · · · · · A.· ·Again, I'd say that Mr. Kirton's

  21· · · side, since he doesn't have it, it was

  22· · · consistent with my review of the performance

  23· · · data and what we've identified as being

  24· · · contributors to odor based on field

  25· · · performance data, so I would lump them in with


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  ·1· · · · · · · · · · · · ·R. Kuhn

  ·2· · · what I -- the information I've already given

  ·3· · · you concerning potential causes of odor in the

  ·4· · · field.

  ·5· · · · · · Q.· ·And you specific conduct -- any

  ·6· · · specific testing that you conducted on the

  ·7· · · plaintiffs' vehicles to connect that odor to

  ·8· · · the plaintiffs -- to the field data that you

  ·9· · · just referred to?

  10· · · · · · A.· ·No, other than their -- their

  11· · · complaints.· And, again, I didn't -- in the

  12· · · Cardenas vehicle, I didn't notice any odor in

  13· · · that vehicle.· But they're consistent with the

  14· · · other vehicles that report this type of issue

  15· · · and part of that population of cars that have

  16· · · odor -- odor complaints.

  17· · · · · · Q.· ·Do you hold yourself out as an

  18· · · olfactory expert?

  19· · · · · · A.· ·No, sir.

  20· · · · · · Q.· ·Do you hold yourself out as an

  21· · · expert in the cause of odors?

  22· · · · · · A.· ·No, sir.

  23· · · · · · Q.· ·And you don't hold yourself out as

  24· · · an expert in microbiology?

  25· · · · · · · · ·MR. SCHRADER:· Tyler, hold -- hold


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  ·1· · · · · · · · · · · · ·R. Kuhn

  ·2· · · · · · on.· I'm sorry.· I was -- I was muted

  ·3· · · · · · the last time.· I'm objecting to your

  ·4· · · · · · prior question.· Form.

  ·5· · · · · · · · ·Go ahead.

  ·6· · · · · · A.· ·I'm sorry.· Can you repeat the

  ·7· · · question, please?

  ·8· · · ·BY MR. GRADEN:

  ·9· · · · · · Q.· ·You don't hold yourself out as an

  10· · · expert in microbiology?

  11· · · · · · A.· ·Oh, no, sir.

  12· · · · · · · · ·MR. GRADEN:· Okay.· We can go off

  13· · · · · · the record.

  14· · · · · · · · ·THE VIDEOGRAPHER:· Going off the

  15· · · · · · record.· Time is 4:55.

  16· · · · · · · · ·(Whereupon, a brief recess was

  17· · · · · · taken.)

  18· · · · · · · · ·THE VIDEOGRAPHER:· We're back on

  19· · · · · · the record the time is 5:03.

  20· · · ·BY MR. GRADEN:

  21· · · · · · Q.· ·Mr. Kuhn, in Appendix B of your

  22· · · report, that's the inspection protocol that we

  23· · · were just looking at.· Let me know when you've

  24· · · turned to that page.

  25· · · · · · A.· ·Okay, got it.


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  ·2· · · · · · · · · C E R T I F I C A T E

  ·3
  · · · · ·STATE OF NEW YORK· · · ·)
  ·4· · · · · · · · · · · · · · ·:· SS.:
  · · · · ·COUNTY OF RICHMOND· · · )
  ·5

  ·6· · · · · · · ·I, CANDIDA BORRIELLO, a Notary

  ·7· · · ·Public for and within the State of New York,

  ·8· · · ·do hereby certify:

  ·9· · · · · · · ·That the witness, ROBERT M. KUHN,

  10· · · ·P.E., whose examination is hereinbefore set

  11· · · ·forth was duly sworn and that such

  12· · · ·examination is a true record of the testimony

  13· · · ·given by that witness.

  14· · · · · · · ·I further certify that I am not

  15· · · ·related to any of the parties to this action

  16· · · ·by blood or by marriage and that I am in no

  17· · · ·way interested in the outcome of this matter.

  18· · · · · · · ·IN WITNESS WHEREOF, I have hereunto

  19· · · ·set my hand this 17th day of November, 2020.

  20

  21· · · · · · · · · ·__________________________
  · · · · · · · · · · · · · CANDIDA BORRIELLO
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